Case 0:18-cv-62758-WPD Document 408 Entered on FLSD Docket 11/22/2021 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      CONSOLIDATED ACTION

                                                           Case No. 18-62758-CIV-DIMITROULEAS
                                                                         (Consolidated cases)

   IN RE: MARJORY STONEMAN DOUGLAS
   HIGH SCHOOL SHOOTING FTCA LITIGATION
   _________________________________________/


          JOINT NOTICE OF AGREEMENT TO SETTLE AND MOTION TO STAY
                               PROCEEDINGS

          Pursuant to Local Rule 16.4, the parties hereby advise the Court that they have reached an

   agreement to settle all of the claims at issue in these consolidated actions. With the consent of all

   plaintiffs in this consolidated action and consistent with this Court’s order appointing Kristina

   Infante as Lead Counsel, she and other members of the Podhurst Orseck law firm, successfully

   negotiated a global settlement with the Department of Justice. The parties are presently working

   to finalize additional details before submission for final approval by the appropriate Department

   of Justice official. Once those details are finalized and approval is granted, the plaintiffs will ask

   that the Court dismiss these actions in their entirety. In the meantime, the parties respectfully

   request a stay of all pending deadlines and hearings.


   Dated: November 22, 2021                                Respectfully submitted,


                                                           By: /s/ Kristina M. Infante
                                                           Kristina M. Infante
                                                           FL Bar No: 112557
                                                           Plaintiffs’ Lead Counsel
                                                           PODHURST ORSECK P.A.


                                                           /s/ Paul David Stern
                                                           PAUL DAVID STERN
Case 0:18-cv-62758-WPD Document 408 Entered on FLSD Docket 11/22/2021 Page 2 of 2




                                            Trial Attorney, Torts Branch
                                            Civil Division
                                            Attorneys for Defendant
                                            United States of America




                                        2
